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                               EXHIBIT 1

                     Assignment and Release Agreement
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                                                             FRE 408 CONFIDENTIAL COMMUNICATION

                                      ASSIGNMENT AND RELEASE AGREEMENT

            SELLER:          Cowen Special Investments LLC
            Address:         830 Third Avenue, 4th Floor,
                             New York, NY 10022
            Attention:       Bradly D. Schwab
            Phone:           646-616-3081
            Email:           Bradly.schwab@cowen.com

            BUYER:           Whitebox Advisors, LLC on behalf of certain funds in the amounts listed on
                             Schedule II
            Address:         3033 Excelsior Blvd, Ste 300 Minneapolis, MN 55416
            Attention:       Scott Specken
            Email:           sspecken@whiteboxadvisors.com
            Phone:           612-253-6061

            AGREEMENT DATE:               June__,
                                              19 2017

            DEBTOR:                       Caesars Entertainment Operating Company, Inc., et. al.

            PROCEEDINGS:                  Case No. 15-01145 jointly administered (the “Chapter 11 Cases”) and
                                          currently pending in the United States Bankruptcy Court for the
                                          Northern District of Illinois Eastern Division (the “Bankruptcy
                                          Court”).

            PETITION DATE:                January 14, 2015

            CLAIM:                        general unsecured claim asserted by Earl of Sandwich (Atlantic City)
                                          LLC (the “Claimholder”) against the Debtor in a principal amount of
                                          not less than $3,600,000.00

                   WHEREAS, on April 18, 2015, the Claimholder filed with the Bankruptcy Court a proof
            of claim with respect to a lease termination, which was assigned claim number 5497 (the
            “Original Proof of Claim”).

                   WHEREAS, on September 1, 2016, Claimholder filed an amended proof of claim which
            was assigned claim number 5858 and amended and superseded the Original Proof of Claim
            which was expunged pursuant to the Order Sustaining Debtors’ Twentieth Omnibus Objection to
            Certain Proofs of Claim (Amended and Replaced Claims) (Non-Substantive) (the “Proof of
            Claim”).

                   WHEREAS, on October 20, 2016, the Debtors filed their Third Amended Joint Plan of
            Reorganization Pursuant to Chapter 11 of the Bankruptcy Code (as amended or modified, the
            “Plan”), which was confirmed by the Bankruptcy Court pursuant to that certain order dated
            January 17, 2017.




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               WHEREAS, on or about January 12, 2017, Seller sought to purchase the following from
      Claimholder (the "Seller Transaction''); (i) the Claim, together with any and all right to receive
      principal, interest, fees, damages, penalties and other amounts in respect of the Claim (in each
      case whether accruing prior to, on, or after the date of this Agreement), (ii) the Proof of Clahn
      and ar..y other proofs of claim filed (regardless of filing date) with respect to the Claim; (iii) any
      actions, claims, rights, lawsuits and/or causes of action against the Debtor arising out of or in
      connection with any of the foregoing; and (iv) all proceeds of any kind of the foregoing,
      including, without limitation, all cash, securities or other property distributed or payable on
      account thereof, or exchanged in return therefor for ((i)-(iv) collectively, the "Rights").

             WHEREAS, Seller corresponded with Claimholder regarding the Rights and the
      Proceedings.

            WHEREAS, the Claimholder has not executed any assignment agreement or other
      documentation or filed a notice of transfer with respect to the Proof of Claim.

             WHEREAS, on May 17,2017, Seller allowed Buyer's counsel to View copies of the Due
      Diligence (defined below); and

              WHEREAS, upon the terms and subject to the conditions set forth in this Agreement,
      Seller desires to sell, transfer, assign, grant and convey to Buyer, and Buyer desires to purchase,
      acquire and receive, the Transferred Rights (as defined hereinafter).

             NOW THEREFORE, Buyer and Seller (each a              "~"      and collectively, the "Parties")
      agree as follows:

      1.     Seller, for good and valuable consideration, does hereby irrevocably sell, convey, transfer
      and assign unto Buyer (a) any and all rights Seller may have to purchase the Rights directly from
      Claimholder and (b) any and all actions, claims, rights, remedies, lawsuits and/or causes of
      action Seller has against the Claimholder arising out of or in connection with the Seller
      Transaction (the "Transferred Rights"). This assignment shall be deemed an absolute and
      u:1conditional assignment of the Transferred Rights for the purpose of collection and satisfaction
      and shall not be deemed to create a security interest and shall be evidenced for purposes of any
      Bankruptcy Court filings by the attached notice of assignment attached hereto as Exhibit A (the
      "Notice").                 ·

      2.      Seller's obligation to sell, transfer, assign, grant and convey the Transferred Rights to
      Buyer is subject to all of the following: (a) Buyer' s representations and warranties being true and
      correct, (b) Buyer having complied with all covenants required by this Agreement to be
      complied with by it, (c) Buyer having received (i) copies of the Due Diligence and (ii) fully
      executed Notice, (d) Seller having received this Agreement fully executed by Buyer and (e)
      Seller having received the one dollar (the "Purchase Price") by wire transfer of immediately
      available funds in accordance with written wire instructions specified by Seller.




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      3.      Seller represents, warrants and covenants to Buyer and Buyer's successors and assigns as
      of the date hereof(the "Effective Pate") that:

       (a) Se:Jer is duly organized and validly existing under the laws of tts jurisdiction of
       organization, is in good standing under such laws, and is authorized and empowered to execute,
       deliver and perform this Agreement, and this Agreement constitutes the valid; legal and binding
       agreement of Seller, enforceable against Seller in accordance with its terms;

       (b) Except for .filings that are expressly contemplated by this Agreement, no consent, approval,
       filing or corporate, partnership or other action is required as a condition to or in connection with
       execution, delivery and performance of this Agreement and the transactions contemplated
       herein;

       (c) To the best of Seller's knowledge, the Claimholder has timely and properly filed the Proof
       of Claim and Buyer shall assume no obiigations or liabilities in respect of the Rights, including
       but not limited to the obligation to file any proof of claim with respect to the Claim;

       (d) To the best of Seller's knowledge, neither the execution, delivery or performance of this
       Agreement, nor consummation of the transactions contemplated hereby, will violate or
       contravene any law, rule, regulation, order or agreement affecting Seller;

       (e) Seller is the sole legal and beneficial owner of, and has good title to, the Transferred Rights,
       free and clear of (i) any legal, regulatory or contractual restriction on transfer or (ii) any pledge,
       lien, claim, security interest, participation, factoring agreement or other encumbrance of any
       type or kind (collectively, the "Liens") and will transfer to Buyer such good title free and clear
       of Liens;

       (f) To the best of Seller's knowledge, the Claim is a valid, liquidated, non-contingent,
       enforceable, "Class I" general unsecured claim against the Debtor;

       (g) Seller has not previously sold, transferred, assigned, participated or otherwise conveyed the
       Transferred Rights, nor has Seller agreed to do any of the foregoing (whether in whole or in
       part);

       (h) No payment or distribution has been received by or on behalf of Seller, in full or partial
       satisfaction of the Rights;

       (i) To the best of Seller's knowledge, Seller has not engaged, and shall not engage, in any act,
       conduct or omission, or had any relationship with the Debtor or any of its affiliates that would
       result in Buyer receiving in respect of the Rights proportionately less in payments or
       distributions, or less favorable treatment (including the timing of payments or distributions) for
       the Rights. than will be received on behalf. of other general unsecilred claims and administrative
       expense claims, as applicable;

       U) Seller is not an "insider'' of the Debtor or its affiliates within the meaning of
       Section 101(31) of the Bankruptcy Code, artd is not a member of any official or unofficial
       committee in the Proceedings;



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       (k) SeUer has not received any written notice (except as otherwise publicly available in the
       Proceedings (if any)), that the Rights or any portion thereof is void, voidable, or unenforceable;

       (1) Upon execution of this Agreement, Seller shall provide to Buyer true and complete copies of
       all written communications between Seller and Claimholder related to the Chapter 11 Cases, the
       Claim, the Proof of Claim, and any rights of Seller or Claimholder with respect to the Chapter
       11 Cases, the Claim or the Proof of Claim (collectively, the "Due Diligence") (a watermarked
       copy of which is attached hereto as Exhibit B);

       (m) Seller is not aware of any written communication which conflicts with Seller's assertion
       that it has the right to purchase the Claim;

       (n) In addition to the Due Diligence, there were telephone and voicemail communications (the
       ''Oral Communications") between Seller and the Claimholder. Seller is not aware of any Oral
       Communications that conflicts with Seller's assertion that it has the right to purchase the Claim.

       (o)Seller is not "insolvent" within the meaning of Section 1-201(23) of the Uniform
       Commercial Code or Section 101(32) Of the Bankruptcy Code, has adequate capital to conduct
       its business and has not filed a petition seeking protection under the Bankruptcy Code or similar
       statute; and

       (p) either (i) no interest in the Transferred Rights is being sbld by or <>n behalf of one or more
       Benefit Plans (as defined below) or (ii) the transaction exemption set forth in one or more
       prohibited transaction class ex.emption issued by the U.S. Department ofLabor ("PTE"), such as
       PTE 84-14 (a class exemption for certain transactions detennined by independent qualified
       professional asset managers), PTE 95-60 (a class exemption for certain transactions involving
       insurance company general accounts), PTE 90-1 (a class exemption for certain transactions
       involving insurance company pooled separate accounts), PTE 91-38 (a class exemption for
       certain transactions involving bank collective investment funds}, and PTE 96-23 (a class
       exemption for certain transactions determined by in-house asset managers) is applicable with
       respect to the Sale of the Transferred Rights. "Benefit Plan" means an "employee benefit plan"
       (as defined in ERISA) that is subject to Title I of the Employee Retirement Income Security Act
       of 1974, as amended, and the mles and.regulations promulgated under it ("ERISA"), a ''plan" as
       defined in Section 4975 of the Code or any Entity whose assets include (for purposes of ERISA
       Section 3(42) or otherwise for purposes of Title I of ERISA or Section 4975 of the Code) the
       assets of any such "employee benefit plan" or "plan".

      4.       Buyer represents and warrants to Seller as of the Effective Date that:

       (a) Buyer is duly organized and validly existing under the laws of its jurisdiction of
       organization, is in good standing under such laws, and is auth(jrized and empowered to execute,
       deliver and perform this Agreement, and this Agreement constitutes the valid, legal and binding
       agreement of Buyer, enforceable against Buyer in accordance with its terms;

       (b) except for filings that are expressly contemplated by this Agreement, no consent, approval,
       filing or corporate, partnership or other action is required as a condition to or in connection with
       execution, delivery and perfonrtance of this Agreement and the transactions contemplated
       herein;

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       (c) neither the execution, delivery or performance of this Agreement, nor consummation of the
       transactions contemplated hereby, will violate or contravene any law, rule, regulation, order or
       agreement affecting Buyer;

       (d) Buyer has (i) reviewed the terms and provisions of this Agreement, and has evaluated the
       restrictions and obligations contained herein and therein; (ii) agreed to the Release based on its
       own independent investigation and <;redit detennination; and (iii) not relied on any
       representation or warranty made by Seller, except as expressly set forth herein; and

       (e) either (i) no interest in the Transferred Rights is being acquired by or on behalf of an entity
       that is, or at any time while the Transferred Rights are held thereby will be, one or more Benefit
       Plans or (ii) the transaction exemption set forth in one or more PTEs, such as PTE 84-14 (a
       class exemption for certain transactions determined by independent qualified professional asset
       managers), PTE 95·60 (a class exemption for certain: transactions involvmg insurance company
       general accounts), PTE 90-l (a class ext>mption for certain transactions involving insurance
       company pooled separate accounts), PTE 91-38 (a class exemption for certain transactions
       involving bank collective investment funds), and PTE 96-23 (a class exemption for certain
       transactions determined by in-house asset managers) is applicable with respect to the purchase
       and holding of the Transferred Rights and the exercise of Buyer's rights thereunder,

      S.       Each Party represents and warrants that it is a sophisticated entity and has adequate
      information concerning the financial condition of Debtor and the Proceedings to make an
      informed decision regarding the purchase/sale of the Transferred Rights and that it has
      independently and without reliance on the other Party, and based on such information as it has
      deemed appropriate, made its own decision to enter into this Agreement, except that it has relied
      on the other Party's express representations, warranties, covenants, agreements and indemnities
      as contained herein. Each Party is aware that information which may be pertinent to the decision
      to transfer the Transferred Rights is available to it and can be obtained from the .files of the
      Proceedings or other publicly available sources. Each Patty is aware that the consideration
      received/paid herein for the purchase/sale of the Transferred Rights may differ both in kind and
      amount from any distributions made pursuant to any plan of reorganization confirmed in the
      Proceedings. Each Party acknowledges that the other may possess, and may come into
      possession of, material non-pubiic information concerning the Transferred Rights, Debtor and/or
      the Proceedings ("Excluded Information"). Eac h Party further acknowledges that it has not
      requested to receive such Excluded In(ormation from the other Party and has nevertheless
      determined to proceed with the transaction contemplated herein, and neither shall have any
      liability to the other Party, and each waives and releases any claims that it might have against the
      other, arising out of the non-disclosure of such Excluded Information; provided, however, that
      the Excluded Information shall !1ot limit, contradict or render untrue any representation or
      warranty made by Seller or Buyer herein.

      6.      Each Party acknowledges and agrees that the Purchase Price and the Release set forth in
      section 10 below are intended to represent "fair consideration'' (as such ter.n is used in Article I0
      of the New York Debtor and Creditor Law, N.Y. Debt. & Cred. §§ 270 et seq.) and "reasonably
      equivalent vab e" (as such term is used in ll U.S.C. § 548), or as analogously provided under
      similar statute or applicable law, for the transfer of such assets.



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      7.      Seller agrees that in the event Seller actually receives any distributi9ns with respect to the
      Rights after the date hereof, Seller shall accept the same and shall hold the same in trust for the
      sole benefit of Buyer and shall promptly deliver the same to Buyer in the same fonn received
      (free of any withholding, set-off, claims or deduction of any kind except ·as required by law)
      within five Business Days in the case of cash ("Cash Distribution"). If any such amounts are not
      received by the :Buyer within five Business Days, then beginning on the next calendar day, the
      amount payable shall begin to accrue interest at a rate of LIBOR + 5% per annum, and within
      seven business days in the case of non-Cash Distributions, with the endorsement of Seller
      (without recourse, representation or warranty) when necessary or appropriate. In the event Seller
      receives any notices (not otherwise publicly available) in respect of the Rights, Seller shall
      promptly deliver the same to Buyer.

       (a) As used herein:

               "Business Day'' means any day that is not a Saturday, a Sunday or any other day on
               which the Federal Reserve Bank ofNew Yorkis closed..

               ''LffiOR" means, for any day, the one-month London Interbank Offered Rate for deposits
               in U.S. Dollars as set by the British Bankers Association ("BBA") and published by the
               BBA at approKimately 11:00 a.m. London time on such day. For any day that is not a
               business day, LIBOR. shaH be the rate published by the BBA on the immediately
               preceding business day.

      8.       (a) Upon execution of this Agreement, Buyer shall have any and all rights the Sellermay
      have to enforce the terms of the Seller Transaction as against the Claimholder including without
      limitation filing pleadings, motions or notices of transfer with respect to the transfer of the
      Rights;

      (b) Seller agrees to cooperate with the Buyer to effectuate the intent and purpose of, and to carry
      out the terms of, this Agreement.

      9.      If for any reason; Seller (and not Buyer) is entitled to exercise any rights with respect to
      the Rights, then Seller agrees that with respect to any request, act, decision or vote to be made by
      Seller in respect of the Rights (each, an "Action"), Seller shall act in accordance with the written
      directions (if timely given) of Buyer. Seller may refuse to follow the instructions ofBuyer only if
      such instructions violate any applicable law, regulation or direction of a regulatory or
      governmental authority.

      10.     Buyer hereby releases and forev er discharges (the "Release'') Seller ahd/o.r its respective
      direct and indirect affiliates, subsidiaries, partners of subsidiaries, its successors and assigns,
      (and each of such entities' or persons' officers, directors, employees, representatives, attorneys,
      and agents, co!lectively, the ''Releasees") of and from any and all claims, liabilities, demands,
      losses, costs, damages, expenses, attorneys • fees and causes of action whatsoever, whether
      individual, class or derivative in nature, whether at law or in equity, whether based on federal,
      state or foreign law or right of action, foreseen or unforeseen, matured or unmatured, known or
      ).mknown, acctued or not accrued, which Buyer has or had against any Releasee, arising out ofor
      relating to the Seller Transaction or the Claim occurring prior to the Effective Date (collectively,


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CONFIDENTIAL                                                                                             WBA-0000150
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      the "Released Claims"), and covenants not to institute, maintain, finance or prosecute any action,
      claim, suit, proceeding or cause of action of any kind to enforce any of the Released Claims.
      Buyer expressly covenants and agrees that the Release and Waiver shall each be binding in all
      respects upon its respective successors, assigns and transferees and shall inure to tM bene.frt of
      the successors and assigns of the Rcleasees.

      ll.     The Parties hereby represent and warrant to each other that: the delivery and performance
      of the Release and the Waiver have been duly authorized by all requisite coi.-porate action and
      will not violate (a) any provision of applicable law, statute, rule or regulation or its
      organizational documents, (b) any order of any governmental authority or (c) any provision of
      any agreement to which the Party is a party or by which they are bound. The foregoing is subject
      to all of the following: (a) Seller?s representations and warranties being true and correct on the
      Release Effective Date, (b) Seller having complied with all covenants required by this
      Agreement to be complied with by it on or before the Release Effective Date, and {c:)Buyer
      having received this Agreement fully executed by Seller.

      12.     Seller agrees to provide Buyer with the Due Diligence on the Effective Date. Other than
      the Due Diligence, Seller is not aware of any written communications between Seller and the
      ClaimhOlder or their respective representatives, affiliates, counsel, advisors and employees
      related to the Chapter 11 Cases, the Claim, the Proof of Claim, and any rights of Seller or
      Claimholder with respect to the Chapter 11 Cases, the Claim or the Proof of Claim.

      13.     Seller agrees to indemnify, defend, reimburse and hold Buyer and' its affiliates anci it.s and
      their officers, directors, partners, employees, agents and controlling persons harmless from and
      against any and all losses, claims, damages, judgments, costs, penalties, expenses and liabilities,
      including, without limitation, attorneys' fees and expenses, which are incurred ·b y or th,reatened
      against, on account of or in any way resulting from or relating to Seller's breach of any of
      Seller's representations, warranties, covenants or agreements set forth herein. Buyer agrees to
      indemnify, defend, reimburse and hold Seller and its affiliates and its andtheir officers, directors,
      partners, employees, agents and controlling persons harmless from and against any and all losses,
      claims, damages, judgments, costs, penalties, expenses and liabilities, including, without
      limitation, attorneys' fees and expenses, which are incurred by or threatened against, on account
      of or in any way resulting from or retating to Buyer's breach of any of Buyer's representations,
      warranties, covenants or agreements set forth herein.

      14.    This Agreement and all matters arising out of or relating to it shall be g0:verned by
      and co.n strued in a.ccordance with the laws of the State ofNew York without reference to
      any conflicts of law provisions that would require or permit the application of the laws of
      any other jurisdiction. Each Party consents to service of process by certified mall at its
      address listed on Schedule I. Each Party irrevocably and unconditionally (a) WAIVES ITS
      RIGHT TO TRIAL BY JURY and (b) consents to the exclusive jurisdiction of the federal
      and state courts located in the State of New York, Borough of Manhattan, in any action to
      enforce, interpret or construe any provJsion ofthis Agreement.

      15.    Seller agrees to execute and deliver (or cause to be executed and delivered) all such
      instruments and documents, and take all such action as Buyer may reasonably request, including
      cooperation with any litigation regarding the Seller Transaction and/or the Claim, at Buyer's cost


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      artd expense, in order to effectuate the intent and purpose of, and to carry out the tenns of, this
      Agreement.

      16.     Each Party agrees to maintain the confidentiality of this Agreement except to the extent
      (a) required or advisable to enforce or preserve such Party's rights hereunder or (b) required or
      requested pursuant to applicable law, regulation, or by the order of any court or governmental
      authority of competent jurisdiction; provided that either Party may disclose this Agreement and
      the transactions contemplated hereby to their legal counsel and other professionals and
      representatives, provided that such parties shall be obligate.d to maintain the confidentiality
      provisions contained herein, and provided further that Buyer may disclose the Notice to the
      Bankruptcy Court or any other'third patties selected by Buyer.

      17.     This Agreement may be executed in multiple counterparts and all ofsuch counterparts
      when taken together shall be deemed to constitute one and the same instrument. Delivery of an
      executed counterpart by fac!<imile or PDF trnnsmission shall be as effective as delivery of a
      manually executed counterpart. No amendment of any provision of this Agreement shall be
      effective unless it is in writing and signed by the· Parties and no waiver of any provision of this
      Agreement, nor consent to any departure by either Party from it, shall be effective unless it is in
      writing and signed by the affected Party, and then such waiver or consent shall be effectlve only
      in the specific instance and for the specific purpose for which given.

      18.     The Parties have participated jointly in the negotiation and drafting of this Agreement
      and, in the event of ambiguity or question of intent or interpretation arises, this Agreement shall
      be construed as jointly drafted by the Parties and no presumption or burden of proof shall arise
      favoring or disfavoring either Party by virtue of the authorship of any provision of this
      Agreement, This Agreement constitutes the complete agreement of the Parties with respect to
      the subject matters referred to herein and supersedes all prior or contemporaneous negotiations,
      agreements or representations of every nature whatsoever with respect thereto, all of which have
      become merged and finally irttegrated herein.

      19.     If any provision of this Agreement or any other agreement or document celivered in
      connection with this Agreement, if any, is partially or completely invalid or unenforceable in any
      jurisdiction, then that provision shall be inefr~tive 'in th,at jurisdiction to the extent ofits
      invalidity or unenforceabi!-ity, but the in¥alidity or unenforceability of that provision shall not
      affect the validity or enforceability of any other provision of this Agreement, all of which shall
      be construed and enforced as if that invalid or unenforceable provision were omitted, nor shall
      the invalidity or unenforceability of that provision in one jurisdiction affect its validity or
      enforceability in any other jurisdiction.

      20.     No failure on the part of either Party to exercise, and no delay in exercising, any right
      hereunder or under any related document shall operate as a waiver thereof by such Party, nor
      shall any single or partial exercise of any right hereunder or under ariy other related document
      preclude any other or further exercise thereof or the exercise of any other right. The rights and
      remedies of each Party provided herein and in other related documents (a) are cumulative and are
      in addition to, and not exclusive of, any rights or remedies provided by law and (b) are not
      conditional or contingent on any attempt by such Party to exercise any of its rights under any
      other related documents against the other Party or any other entity.


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CONFIDENTIAL                                                                                          WBA-0000152
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      21.    Seller hereby acknowledges and consents to all terms set forth in this Agreement and
      agrees not to litigate or otherwise pursue any of the Rights (including, without limitation, the
      amount of the Claim and, to the extent related thereto, the Proofs ofCla:im).

      22.     All demands, notices, consents, and communications hereunder shall be in writing and
      shall be deemed to have been duiy given when e-m ailed with acknowledgment of receipt by
      recipient, hand-del:vered or du!y deposited in the mails, by certified or registered mail, postage
      prepaid-return-receipt requested, to the addresses set forth in Schedule I, or such other address as
      may be furnished hereafter by notice in writing. Each payment to be made by either Party shall
      be made without set-off, counterclaim or deduction ofany kind.. All payments made purst.Jant to
      this Agreement shall be made in the lawful currency of the United States by wire transfer .o f
      immediately available funds, in accordance with the wire instructions specified in Schedule I.

                                            [signature page follows]




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CONFIDENTIAL                                                                                            WBA-0000153
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             IN WITNESS WHEREOF, the undersigned have duly executed this Agreement by their
      duly authorized representatives as of the Agreement Date written above.



      WHITEBOX MULTl~STRATEGY                    COWEN SPECIAL INVESTMENTS LLC
      PARTNERS, LP



      By:. _____________________
      Name:
      Title:

      WHITEBOX INSTITUTIONAL PARTNERS,
      L.P.



      By: ________________
      Name:
      Title:

      WHITEBOX ASYMMETRIC PARTNERS,
      L.P.

      By:, _ __
      ~arne:
      Title:




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CONFIDENTIAL                                                                            WBA-0000154
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                   IN WITNESS WHEREOF, the undersigned have duly executed this Agreement by their
            duly authorized representatives as of the Agreement Date written above.



            WHITEBOX MULTI-STRATEGY                          COWEN SPECIAL INVESTMENTS LLC
            PARTNERS, LP



                                                             By:
            By:                                              Name:
            Name: Mark Strefling                             Title:
            Title: CEO

            WHITEBOX INSTITUTIONAL PARTNERS,
            L.P.                                             By:
                                                             Name:
                                                             Title:

            By:
            Name: Mark Strefling
            Title: CEO

            WHITEBOX ASYMMETRIC PARTNERS,
            L.P.



            By:
            Name: Mark Strefling

            Title: CEO




            OHSUSA:766869828.5




       CONFIDENTIAL                                                                         WBA-0000155
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